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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

THOMAS O’KEEFE
4 Mason Drive
Philadelphia, PA 19l45
CIVIL ACTION
Plaintiff,
No.:
v.

ARAMARK CORPORATION :
d/b/a ARAMARK FACILITIES : JURY TRIAL DEMANDED
1101 Market St. :
Philadelphia, PA 19107
and
UNIVERSITY OF PENNSYLVANIA
3101 Walnut St.
Philadelphia, PA 19104

Defendant.

 

CIVIL ACTION COMPLAINT

Plaintiff, Tiiomas O’Keefe, by and through his undersigned counsel, hereby avers as

follows:
I. INTRODUCTION

1. Plaintiff has initiated this action to redress Violations by Ararnark Corporation and
the University of Pennsylvania of the Age Discrimination in Employment Act (“ADEA” - 29
U.S.C. §§ 621 et. seq.) and the Pennsylvania Human Relations Commission (“Pl-IR./lt”).l Plaintiff
was subjected to discrimination based on his advanced age and he suffered damages more fully

described/ sought herein.

 

l Plaintiff will move to amend his instant lawsuit to include a claim under the PHRA once his administrative
remedies are fuliy exhausted With the Pennsylvania Hnrnan Relations Commission. Any claims under the PHRA
though would mirror the instant ADEA claims identically.

 

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If. JURISL)ICTION ANI) V§LNUE

2. This Court, in accordance with 28 U.S.C. § i331, has jurisdiction over Plaintiff’s
claims because this civil action arises under laws of the United States.

3. This Court may properly maintain personal jurisdiction over Defendants because
Defendants’ contacts with this state and this judicial district are sufficient for the exercise of
jurisdiction over Defendants to comply with traditional notions of fair play and substantial
justice, satisfying the standard set forth by the United States Supreme Court in lntei'national Shoe
Co. v. Washington, 326 U.S. 310 (1945) and its progeny

4. Pursuant to 28 U.S.C. § l39i(b)(l) and (b)(Z), venue is properly laid in this
district because ali of the acts and/or omissions giving rise to the claims set forth herein occurred
in this judiciai district, and in addition, Defendants are deemed to reside where they are subject
to personal jurisdiction, rendering Defendants residents of the Eastern District of Pennsylvania.

5. Piaintiff is proceeding herein under the ADEA and has properly exhausted his
administrative remedies with respect to such claims by timely filing a Charge of Discrimination
with the Equal Employment Opportunity Cornrnission (“EEOC”) and by filing the instant iawsuit

within ninety (90) days of receiving a notice of dismissal and/or right to sue letter from the

EEOC.
III. PAR'I`IES
6. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
7 . Plaintiff is an adult individuai, with an address as set forth in the caption
8. Defendant Arainark Corporation (hereinafter “Defendant Ararnark”) is a

corporation with a location at the above~captioned address which provides food service, facilities

 

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and uniform services to hospitals, universities, schooi districts, stadiums and other businesses
around the world, inciuding the University of Pennsylvania (where Plaintiff physically worked).

9. Defendant University of Pennsylvania (“Defendant UOP”) is a university located
in Philadelphia, Pennsylvania.

i0. Piaintiff physically worked at Defendant UOP in Philadeiphia, PA for
approximately 16 years and was placed there through various contractor service companies
However, even though he was paid through various contractor service companies during his
tenure with Defendant UOP, he was still treated in all functional respects like an employee while
working within Det`endant UOP. For example, Defendant UGP’s management had the ability
recommend discipline to Plaintiff, give directive to Plaintiff, and have input in managerial
decisions regarding Plaintiff’ s employment Thus, for the foregoing reasons, Defendant UOP
may be treated as a single and/or joint employer for purposes of the instant action.

ll. Prior to Plaintiff’s separation from Defendant UOP, he was paid and employed by
a company called SSC Service Solutions/Cornpass Group, USA, who placed him to work at
Defendant UOP (as he had been working there under previous service contracts with Defendant
UOP). ln or about the Spring of 2016, Defendant Aramark became the new service contractor for
Defendant UOP.

i?.. When Defendant Aramark became the new service contractor for Defendant
UOP, Defendant Aramark and Defendant UOP jointly made decisions regarding the continued
employment of SSC Service Solutions/Compass Group, USA employees, including Piaintiff.

13. Therefore, based on the foregoing, Defendant Aramark may be treated as a single

and/or joint employer for purposes of the instant action.

 

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i4. At all times relevant herein, Defendants acted by and through their agents,
servants and employees, each of whom acted at all times relevant herein in the course and scope
of their employment with and for Defendants.

IV. FACTUAL BACKGROUND

15. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

16. Plaintiff is a 65-year-old male.

17. Since in or about the year 2000, Plaintiff was employed by various service
contractors and placed to work at Det`endant UOP.

18. Piaintiff had physically worked at Defendant UOP for approximately 16 years
(through prior contractors who had retained Plaintiff as an empioyee and allowed him to
continue working at Defendant UOP), Wherein he was given directive by Defendant UOP’s
management and wherein Defendant’s UOP’s management had input regarding managerial
decisions pertaining to Plaintift’ s employment

19. Towards the end of Piaintift’s employment with Defendant UOP, Plaintiff was
employed with and was being paid by a service contractor company called SSC Service
Solutions/Compass Group, USA; however, he was still physically working at Defendant UOP as
a housekeeping supervisor.

20. While employed as a housekeeping supervisor, Wendy Sparks -- Director of
Housekeeping for Defendant UOP - had input in employment decisions regarding Plaintiff and
other employees of SSC Service Solutions/Compass Group, USA, including but not limited to

assignments, directives, discipline, and termination

 

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21. During the time period that Ms. Sparks was Director of Housekeeping (from in or
about July of 2014 through Plaintift`s separation in or about June of 2016), Plaintiff, as well as
other older employees, were subjected to hostility and animosity because of their advanced age,
including but not limited to treating them in a rude and condescending manner, recommending
pretextual discipline, attempting to find reasons to terminate them, and belittling them. Plaintift`
did not observe younger employees being treated in the same manner.

22. In or about May of 2016, i’laintiff was informed that Defendant Ararnarl< would
be the new service contractor for Defendant UOP starting on or about July l, 2016.

23. Despite the fact that Plaintiff had been retained through multiple prior service
contractors, he was not retained and/or hired by Defendant Ararnari<; however, younger
employees, who held the same or similar job as Plaintii"f, were retained Further, younger
individuals were also hired from outside of SSC Service Solutions/Compass Group, USA to till
vacant positions that older employees of SSC Service Solutions/Compass Group, USA used to
hold.

24. There were multiple other employees of SSC Service Solutions/Compass Group,
USA who were over the age of 40 and were also not retained despite their skills, work ethic, and
seniority

25. Upon information and belief, Defendant UOP, specifically Ms. Sparks, directly
participated in the Defendant Aramarl<’s decision making process regarding who should be
terminated and who should he retained from SSC Service Solutions/Compass Group, USA when
Defendant Aramark was awarded the service contract with Defendant UOP.

26. Upon further information and belief, Det`endants did not consider seniority,

discipline, or other neutral criteria when determining who to retain and/ or hire.

 

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27. Plaintiff was terminated from Defendant UOP (due to Defendants’ decision not to
retain and/or hire him) on or about Iune 30, 2016.

28. Upon information and beiiet`, Plaintii`t` was replaced by a younger individual in her
20s.

29. Plaintiff believes and therefore avers that he was terminated and/or not retained
by Defendants because of his advanced age.

First Cause of Action
Violations of the Age Discrigig_iatiog in Emplovment Act (“ADEA”)
(Age Discrimination)
-Against Both Defendants~

30. 'l`he foregoing paragraphs are incorporated herein in their entirety as if set forth in
full

31. While employed with Defendant UOP under the supervision of Ms. Sparks,
Plaintiff, and other older workers, were subjected to discriminatory treatment (discussed supra)
because of their advanced age.

32. fn or about May of 2016, Plaintiff was informed that Defendant Aramark would
be the new service connector for Defendant UOP starting on or about July l, 2016.

33. In or about the Summer of 2016, Plaintiff was informed that be had not be
retained and/or hired by Defendant Aramark to work at Defendant UOP and he was not provided
with any iogical or legitimate reason as to why he had not be retained and/or hire.

34. 'I`here were multiple other employees of SSC Service Solutions/Cornpass Group,
USA who were over the age of 40 and were also not retained despite their skills, work ethic, and
Seniority.

35. Younger employees, who held the same or similar job, were retained and other

younger individuals were also hired from outside SSC Service Solutions/Compass Group, USA

 

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to fill vacant positions that older employees of SSC Service Solutions/Compass Group, USA
used to hold.

36. Upon information and belief, Defendants did not consider seniority, discipline, or
other neutral criteria when making decisions regarding who to retain and/or terminate from SSC
Service Solutions/Compass Group, USA.

37. Upon information and belief, Defendant UOP, specifically Ms. Sparks, directly
participated in the Defendant Ararnark’s decision making process regarding who should be
terminated and who should be retained from SSC Solutions/Compass Group USA when
Defendant Aramarl< was awarded the services contract with Defendant UOP.

38. After Plaintit`f was officially separated from his employment with Defendant UOP
(as a result of Defendants’ discriminatory decision not to retain and/or hire him), he was, upon
information and belief, replaced by a younger individual in his 20s.

39. Plaintiff believes and therefore avers that he was not retained and/or hired with
Defendants because cf his advanced age.

40. These actions as aforesaid constitute unlawful discrimination under the ADA.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendants are to promulgate and adhere to a policy prohibiting discrimination in
the future against any employee(s);

B. Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and beneiits Plaintiff would have received had it not been for
Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay

increases, bonuses, insurance, and benefits

 

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C. Plaintiff is to be awarded actual damages, as well as damages for the pain,
suffering and humiliation caused by Defendants; actions;

D. Plaintil`f is to be awarded liquidated damages, as permitted by applicable law(s)
alleged asserted herein, in an amount believed by the Court or trier of fact to be appropriate to
punish Defendants for their willful, deliberate, malicious and outrageous conduct and to deter
Defendants or other employers from engaging in such misconduct in the future;

E. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appropriate; and

F. Plaintiff is to be awarded the costs and expenses of this action and a reasonable

attorney’s fees as provided by applicable federal and state law.

Respectfully submitted,

KARPF, RPF & CERUTTI, P.C.

By: //
Ari marpf, Esq.
3331 Street Rd.
Bldg. 2, Ste. 128
Bensalem, PA 19020

Date: May l, 2017

 

 

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IN THE UNITED STATES DISTRICT COURT
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designation that defendant shall, with its first appearance submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management 'I`rack Desiguation Fonn specifying the track

to which that defendant believes the case should be assigned

SELEC'I` ONE OF THE FOLLGWING CASE M.ANAGEMENT TRACKS:
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(b) Sociiil Security - Cases requesting review of a decision of the Secretary oi`llea|tli
and Huinan Seivices denying plaintiff Social Security Beneiits, ( )

(c) Arbitration »~ Cases required to be designated for arbitration under Local Civii Rule 53,2. { ')

(d) Asbestcs - Cases involving claims t`or personal injury or property damage from
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(c) Special Managcment - Ciiscs that do not fall into tracks (a) through (d) that are

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the court (Sec reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ( )
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